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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                                    Case Number: 9-18-cv-80257-RLR

  MABELLE MEYAART
  a/k/a MAI MEYAART,

            Plaintiff,

  v.

  TRAVEL LEADERS GROUP, LLC,
  d/b/a and s/k/a TRAVEL LEADERS GROUP,
  NINAN CHACKO and JOHN LOVELL

        Defendants.
  ______________________________________/

                                   THIRD AMENDED COMPLAINT

            Mabelle Meyaart a/k/a Mai Meyaart (“Mrs. Meyaart” and/or “Plaintiff”) sues the

  defendants, Travel Leaders Group, LLC d/b/a and s/k/a Travel Leaders Group (“Travel Leaders

  Group”) and Ninan Chacko (“Mr. Chacko”) and John Lovell (“Mr. Lovell”) (collectively,

  “Defendants”) (Mrs. Meyaart and Defendants are hereinafter referred to as the “Parties”) and

  states:

                                            General Allegations

            1.      This is an action for monetary and other relief within the subject matter jurisdiction

  of this Honorable Court based on various claims including, but not limited to, violations of the

  federal Equal Pay Act, the Florida's Equal Pay Act, negligent retention, and tortious interference,

  the federal Civil Rights Act, Title VII, the Lilly Ledbetter Fair Pay Act of 2009, and the Florida

  Civil Rights Act, Chapter 760, Fl.Stat.

            2.      Defendants removed this action from state court.

            3.      At all times material hereto, Mrs. Meyaart was an employee of Travel Leaders

  Group in the State of Florida.



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            4.   At all times material hereto, Mrs. Meyaart worked in and for Defendant Travel

  Leaders Group in and from the State of Florida.

            5.   At all times material, Mrs. Meyaart has been and still is a resident of Palm Beach

  County, Florida.

            6.   Travel Leaders Group touts itself on its website as “America’s largest travel agency

  company” as follows:

                 The Undisputed Leader in Travel

                 … Travel Leaders Group delivers a high-touch, personal level of travel expertise to
                 leisure and corporate clients through our more than 7,000 company-owned,
                 franchised and affiliated travel agencies throughout the United States, Canada, the
                 United Kingdom, Ireland and Australia. The travel agencies that are part of Travel
                 Leaders Group alone comprise over 30% of all agencies in North America. Our
                 team of leaders – from our expert agents to our executives –– are dedicated to
                 delivering the best travel experience. It’s our heart and soul. It’s all we do. And we
                 do it for you!


  and as:

                 a leading North American travel company that directly employs over 2,000 staff
                 managing operations of more than 7,000 company-owned, franchised and affiliated
                 travel agency locations in the United States, Canada, the United Kingdom, Greece,
                 Ireland and Australia. Today, Travel Leaders Group has over 40,000 travel agents
                 working directly for the organization or under one of its brands.


            7.   Defendant, Ninan Chacko (“Mr. Chacko”) is the CEO and an employee of Travel

  Leaders Group.

            8.   Defendant, John Lovell (“Mr. Lovell”), is the President and an employee

  of Travel Leaders Network and Leisure Group, which is part of Travel Leaders Group, and is a

  resident of Florida.

            9.   At all times material, Mr. Chacko and Mr. Lovell acted within the course and scope

  of their employment, agency and association with Travel Leaders Group so as to bind Travel

  Leaders Group because of their actions.




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          10.     This Court has long-arm jurisdiction over Defendants including, but not limited to,

  pursuant to Fla. Stat. 48.193, including, but not limited to, subsection (1)(a) 1,2,4, 6a, and 7.

          11.     This Court has long-arm jurisdiction over the Individual Defendants including, but

  not limited to, pursuant to Fla. Stat. 48.193, including, but not limited to, subsection (1)(a)(2).

          12.     At all times material, Defendants were engaged in substantial and not isolated

  activity within this State.

          13.     Defendants have had sufficient minimum contacts within the State of Florida such

  that the maintenance of this suit will not offend traditional notions of fair play and substantial

  justice. The acts complained of were performed or occurred, at least in part, in the State of Florida.

  The business conducted by Defendants and the services rendered by Mrs. Meyaart in the State of

  Florida was such that Defendants should have reasonably anticipated being hauled into court in

  Florida. The actions of the Defendants affected Mrs. Meyaart in Florida.

          14.     The offending conduct of the Individual Defendants (Mr. Chacko and Mr. Lovell)

  caused Mrs. Meyaart injury in Florida, thereby satisfying Florida’s Long Arm Statute because they

  each committed a tort (tortious interference) which injured Mrs. Meyaart in Florida from where

  she worked for Travel Leaders Group. These Defendants were involved in her termination and

  they knew or should have known that Mrs. Meyaart would be damaged in Florida by her

  termination, which was the result of their actions.

          15.     Mrs. Meyaart has been in the travel industry more than 20 years developing hotel

  strategies.

          16.     Mrs. Meyaart was employed by Travel Leaders Group from about June 25, 2012

  until she was unceremoniously and wrongfully terminated without cause under false pretenses

  supposedly because of a bogus “elimination of her position” in or around July 24, 2017.




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         17.     Initially, Mrs. Meyaart had been brought into Travel Leaders Group to create the

  Hotel Division, its Hotel teams, strategic partnerships, revenue and product strategies, analytics,

  infrastructure, commercial agreements, agent engagement strategies and its hotel products.

         18.     Mrs. Meyaart held a number of positions over that time, including, but not limited

  to, the following:

                 A.    Senior Vice President, Hotel Strategies;

                 B.    Vice President, Worldwide Hotel Program Strategies; and

                 C.    Vice President, Engagement and Distribution Strategies.

         19.     When Mrs. Meyaart was first hired, she was positioned as a Senior Vice President,

  given a business card that said as much and was featured in one or more company press releases

  as a new Senior Vice President.

         20.     Notwithstanding all that, she was treated internally as a Vice President, labeled as

  such and paid at a level much less than other SVPs, in terms of having a contract for a term, higher

  base pay, higher bonuses, and other greater benefits.

         21.     Although Mrs. Meyaart was held out to the world as a Senior Vice President, she

  was given the responsibilities of, and performed as, a Senior Vice President in starting up the Hotel

  Division.

         22.     Mrs. Meyaart was effectively demoted and made a Vice President and never

  promoted thereafter. She never had her salary increased. When openings existed for the Senior

  Vice President position, she was passed over in favor of men some or all of whom had much less

  experience as she had in Hotels.

         23.     Travel Leaders Group did little, if anything, to train or groom Mrs. Meyaart to

  position her so that she could be considered for a Senior Vice President opening or position.

         24.     Mrs. Meyaart’s duties, without exclusion, were to:




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                      A.     develop the engagement strategies to increase adoption of the various hotel

                      programs and tools offered by Travel Leaders Group;

                      B.     hire, develop and direct the team of Engagement Managers and Sales

                      Coordinator;

                      C.     lead and support the Customer Service team out of Montevideo, Uruguay;

                      D.     develop and manage the commercial relationships with third party suppliers;

                      E.     speak and present to thousands of agents during national annual conferences;

                      F.     among numerous other significant duties.

             25.      Mrs. Meyaart performed her duties, and more, with distinction.

             26.      During her employment, Mrs. Meyaart built award-winning programs, such as,

  without exclusion:

                      A.     Worldwide Hotel Program;

                      B.     Select Hotels & Resorts Program;

                      C.     pinSIGHT; and

                      D.     three merchant rate offers: Friends and Family rate, 15% Commission rate

                      and Flex Mark Up rate.

             27.      Through her leadership, expertise, initiative, dedication and hard work, Mrs.

  Meyaart grew EBITDA in the Hotel Division from less than $X million to more than $Z million

  in 4 years (a 400% increase)1.


             28.      Mrs. Meyaart achieved consistent high levels of success and achievement at Travel

  Leaders Group.




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      The actual numbers are redacted at this time.



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         29.     Among other examples, Mrs. Meyaart was recognized by Barry Liben, former CEO

  and current Board member, that Mrs. Meyaart was responsible for the success of the Hotel

  Division.

         30.     The Financial Controller, Catharina Suryaatmadja, who was privy to all the

  financial information and individuals’ revenue contribution and compensation, also recognized

  Mrs. Meyaart was the reason behind the success of the Hotel Division.

         31.     Mrs. Meyaart received communications from Michael Heflin, her immediate

  supervisor, stating that the team of which she was a part and Mrs. Meyaart were performing great

  and that they were in the right roles to continue to drive growth.

         32.     Mrs. Meyaart also received a note from Mr. Chacko including her in a special

  options program extended to the most valued employees.

         33.     Notwithstanding her performance and achievements, Travel Leaders Group, itself,

  and through its employees and agents acting within the course and scope of their employment and

  agency, did the following in relation to Mrs. Meyaart:

                  A.     Committed discrimination against her;

                  B.     Committed harassment against her;

                  C.     Created a hostile work environment;

                  D.     Committed acts of retaliation against her;

                  E.     Failed to inform her that positions were open for which she could apply;

                  F.     Failed to consider her for open positions;

                  G.     Asked her if she was interested in open positions and then failed and refused

                         to consider her for those positions;

                  H.     Passed over her for open positions in favor of less qualified, inexperienced,

                         males from outside Travel Leaders Group;

                  I.     Paid males holding inferior positions as much as Mrs. Meyaart was paid;



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                  J.    Paid Mrs. Meyaart less than males holding comparable positions;

                  K.    Failed to pay her salary increases;

                  L.    Failed to promote her;

                  M.    Demoted her;

                  N.    Defamed her, including, but not limited to, stating and repeating that she

                        was not a “team player;”

                  O.    Propositioned and solicited her to engage in sexual relations (which she

                        declined);

                  P.    Failed to provide her with benefits provided to males at Travel Leaders

                        Group;

                  Q.    Fired her and lied about eliminating her position and did not consider her

                        for another position in the Company, while at the same time hiring a male

                        for an open position that she was qualified to fill;

                  R.    Defamed her by, among other things, telling Travel Leaders Group’s

                        employees and people outside of Travel Leaders Group that the reason Mrs.

                        Meyaart was terminated was because she was not a team player and because

                        of problems with her performance, including, but not limited to, that

                        mistakes and errors were found and that they questioned Mrs. Meyaart’s

                        ability to competently perform her job within the travel industry; and

                  S.    Among numerous other Wrongful Actions and failure to act.

  (collectively, the “Wrongful Actions”)

         34.     Mrs. Meyaart was promised larger roles in Travel Leaders Group including, but not

  limited to, by Mr. Lovell in a private meeting on Feb 7, 2017 and, again, in a meeting on June 20,

  2017, with eight of her colleagues present who witnessed these statements.




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         35.      At times, Travel Leaders Group conducted what they referred to as a

  “reorganization” or the “integration” of one working group/division into another. When such

  references were made, Mrs. Meyaart was reassured and told by management that there were several

  significant positions in the Company for which she was being considered as well.

         36.      On a number of occasions, Mrs. Meyaart requested to be considered formally to be

  promoted, including, but not limited to, to be promoted to a Senior Vice President position, but

  she was rebuffed.

         37.      Notwithstanding her proven track record of success and competencies, Mrs.

  Meyaart was, at various times, passed over for promotions, demoted, underpaid, had bonuses

  reduced over time without justification, denied salary increases, denied equal pay, defamed,

  unfairly criticized, propositioned for sex, harassed, and ultimately wrongfully terminated without

  cause, etc. (the “Mistreatment”).

         38.      Ms. Meyaart was never informed by Travel Leaders Group of the real reason for

  the Mistreatment.

         39.      Ms. Meyaart experienced the Mistreatment as just one female employee of many

  others similarly situated.

         40.      Mrs. Meyaart was told that she was being terminated because, supposedly, there

  were no other roles available to her. That was repeated to her by Mr. Lovell in a call he had with

  Mrs. Meyaart on July 25, 2017. The day before, on July 24th, David Gross, a male, was announced

  as being hired as the new Senior Vice President of Strategic Partnerships, a role that was not posted

  for which Mrs. Meyaart was qualified to fill and for which she was not interviewed.

         41.      When she was terminated without cause Mrs. Meyaart was never informed why

  Travel Leaders Group selected her position to eliminate, as opposed to the position of a male or

  someone else.




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             42.      When she was terminated without cause Mrs. Meyaart was never informed why

  Travel Leaders Group couldn’t or didn’t find another position for her in the Company.

             43.      Similarly, Mrs. Meyaart was never informed why males from outside the Company

  with much less experience that she had were hired for positions she was more than qualified to fill.

             44.      Mrs. Meyaart was never informed why males with much less experience than she

  had were paid the same or more than she was paid to perform the same or greater duties. More

  particularly, new hires on the Hotel Team, Patrick O’Neil (Sr. Director) (a male in his 40’s) and

  Art Jimenez (VP Marketing) were being paid a nominal few dollars2 less annually than what Mrs.

  Meyaart was being paid. By contrast, a female in her 50’s was hired in 2015 as Senior Director at

  about $40,000 less than those new male hires. When Mrs. Meyaart asked why these new male

  hires were paid as much as her even though they were filling much less senior roles than she, she

  was given no explanation or justification other than it had been Eric Rodriguez’s decision. Those

  hires occurred as Mrs. Meyaart experienced going five years with no increase in her salary, despite

  her being lauded for her performance and even though she had created the Travel Leaders Group

  Hotel Division, hired the team, created their hotel programs and grew Hotel Division EBITDA

  from less than $X to over $Z (four times as much)3, for which she received no raise in the 5 years

  before her termination, despite her success and having positive reviews.

             45.      The reason given to Mrs. Meyaart for her termination without cause was pretextual.

  She had been given no advance notice, of any kind, that her role or future with Travel Leaders

  Group was being questioned. Several officers and members of the Board of Directors expressed

  shock that Mrs. Meyaart was summarily terminated. Mrs. Meyaart was given no opportunity to

  fight for her job and be considered for any other position within her entire organization. It was

  obvious that she was forced out of Travel Leaders Group for malevolent and unjustified reasons.



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      The actual numbers are redacted at this time.
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          46.    Mrs. Meyaart’s Mistreatment was a manifestation of Travel Leaders Group’s

   warped corporate culture (the “Travel Leaders Group Warped Culture”) that can be described,

   generally, as toxic, male-dominated, good ‘ole boy, misogynistic, and dysfunctional, which

   victimized and discriminated against women.

          47.    The Travel Leaders Group Warped Culture is well known in and throughout the

   travel industry, including, but not limited to, vendors of Travel Leaders Group, among others

   knowledgeable of Travel Leaders Group’s inner workings.

          48.    The Travel Leaders Group Warped Culture is also well known among key

   executives, Board members, industry vendors and suppliers, and others, including, but not limited

   to:

                 A. Bob Brill, SVP and General Counsel (who is also aware of the disparity and

                      discriminatory practices in Travel Leaders Group, the success of the Hotel

                      Division under the leadership of Mrs. Meyaart, the Mistreatment (defined

                      herein), and the Wrongful Actions (defined and identified below) and other

                      matters;

                 B. Kris Parkin, Vice President of Human Resources (who is also aware of the

                      various complaints Mrs. Meyaart has raised. She sets policy on compensation

                      and benefits. She is aware of aware of the compensation disparity and unequal

                      pay and benefits. She approves of role requirements, pay grade and issues

                      compensation and benefits offers to incoming employees. She was aware of

                      Mrs. Meyaart’s creation of the Hotel Division and her history of successful

                      leadership and revenue generation. She was also aware of Mrs. Meyaart’s

                      interest in the SVP role. She did not interview Mrs. Meyaart for various roles

                      that became open. She was aware that Mrs. Meyaart never received a raise and

                      that Mrs. Meyaart paid for all of her healthcare benefits, whereas there were



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                      other executives who had their benefits subsidized). She is aware of the

                      Mistreatment and the Wrongful Actions. She also witnessed and received

                      complaints (including, but not limited to, from Mrs. Meyaart) about pervasive

                      sexual harassment and many discriminatory statements made by, and

                      discriminatory actions taken by, officers and executives and either ignored

                      them or did little, if anything, about them);

                 C. Catharina Suryaatmadja, Financial Controller (who was also aware of all

                      employees’ compensation in the Hotel Division and discrimination in pay in

                      the Company. Catharina is also aware of the success of the Hotel Division

                      under Mrs. Meyaart’s leadership and other matters).

                 D. Ninan Chacko, CEO (who is aware of the allegations in this Complaint, the

                      Mistreatment and the Wrongful Actions, among other matters).

                 E.   Michael Heflin, Senior VP of the Hotel Division (who was informed of and

                      was aware of the disparities in compensation and other matters and aware of

                      the Mistreatment and the Wrongful Actions);

                 F.   John Lovell, President of the Hotel Division (who was informed of and was

                      aware of the disparity in compensation. Mr. Lovell is aware of solicitations of

                      sex that have occurred in the Company and suggestive comments made to

                      female employees, the allegations of the Complaint, the Mistreatment and the

                      Wrongful Actions and other matters);

                 G. Various members of the Board who can be identified and confirmed through

                      discovery and continuing investigation; and

                 H. “Me too” additional victims.

          49.    Mrs. Meyaart, as a woman, was excluded from activities and exposure and career

   development that would likely have made it possible for her to advance at TLG and in the travel



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   industry. Instead, her growth and development was thwarted and limited because she was a woman

   and wasn’t part of the good ‘ole boy Warped Corporate Culture.

          50.     As just one example, various male-only members of upper management at TLG

   participated in what was referred to by some as the “Godfather Stripper Dinners (or ‘Parties’)” at

   which very senior male-only members of various major airlines were treated to private dinners at

   an Italian restaurant where female strippers appeared to provide various forms of entertainment.

   Mrs. Meyaart and other women at TLG were excluded. To the extent such events contributed to

   the relationships between male executives at TLG with male management at very important

   business partners/clients, and females at TLG were excluded from having business development

   opportunities, including, but not limited to Mrs. Meyaart, those women were professionally and

   economically disadvantaged and handicapped.

          51.     In another illustrative event, a Travel Leaders Group’s affiliate, featuring its

   CEO/President, Barry Liben, conducted a shameless event parodying the song, “Love Shack,” and

   highlighted staff in risqué sexually focused costumes, a female dominatrix in tights with a whip

   on a conference room table, and a male and female employee coming out of a company ladies

   room with the man pulling up his zipper. This video was posted on YouTube.

          52.     In another instance, belly dancers danced with company employees, including

   Erick Rodriguez, who was hired over Mrs. Meyaart, and paid a year’s severance at a higher salary

   amount for one year of service when he was let go (much more than what Mrs. Meyaart was offered

   for 5 years of successful performance when she was fired without cause).

          53.     Personal male friends of management with little, if any, experience were hired to

   fill important roles without openings being publicized so that women like Mrs. Meyaart inside the

   Company couldn’t be considered. On the occasions when women like Mrs. Meyaart were informed

   of opportunities for advancement, they were passed over without actual consideration.




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          54.    Hiring and other employment practices favored men over women. Some positions

   were never posted. That gave Mr. Chacko carte blanche to place his male friends into positions

   without giving a chance to others who were more experienced, older and/or female and who were

   already in the Company. This was often acknowledged and discussed at the Executive level and

   was a continuous practice.

          55.    Some examples of discriminatory hiring and employment decisions, without

   exclusion, were as follows:

                 A. SVP Hotel Division role – In October 2015, Mr. Chacko came on Board as the

                     new CEO. In the Fall of that year, he brought in a new SVP of the Hotel

                     Division, Eric Rodriguez, his personal friend (male 40’s). That SVP position

                     was never posted and Ninan Chacko never spoke with Mrs. Meyaart about that

                     position beforehand. Not only was Mrs. Meyaart not considered for the role,

                     but her role was changed from reporting directly to the COO to reporting to the

                     new SVP, effectively a demotion. The CEO and the SVP, made the Hotel

                     Division's objective to grow EBITDA from $A to $B but had no clear plan on

                     how to do so. When Mrs. Meyaart inquired as to how they were expected to

                     make this happen, it was clear Mr. Rodriguez did not have a cogent plan and

                     Mrs. Meyaart was unfairly labeled as a non-team player. This unwarranted

                     disparaging label was repeated later when Mrs. Meyaart was given her review

                     for 2016. A negative statement was included stating that Mrs. Meyaart was

                     perceived as not being a “team player” although she had never received that

                     feedback in any prior review, continuously exceeded goals and had positive

                     reviews from her direct report, peers and executives. After less than one year,

                     Mr. Rodriguez had reduced EBITDA to less than half, re-organized the team

                     into a less effective structure and quadrupled headcount and expenses. Things



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                 were so bad that the Board of Directors demanded that Mr. Chacko fire Mr.

                 Rodriguez or be fired himself. Mr. Chacko gave his buddy, Mr. Rodriguez, one

                 year’s severance even though he had been there for only about a year. When

                 Mrs. Meyaart was terminated, Travel Leaders Group offered her a small

                 fraction of her annual salary in severance, another glaring example of Travel

                 Leaders Group discriminating against women. Among other anomalies, the

                 same could be said about the fact that Mrs. Meyaart had to pay for her own

                 health benefits whereas there were male executives whose benefits were

                 subsidized.

              B. Although Mrs. Meyaart created the Travel Leaders Group Hotel Division, hired

                 the team, created the hotel programs and grew Hotel Division EBITDA from

                 less than $X to over $Z, Mrs. Meyaart was not given a raise in 5 years. She

                 was told that she was at the top of the salary band and would not be given a

                 raise. In Q2 of 2016, Mr. Rodriguez hired a new Director of IT, Patrick O'Neil

                 and a new VP of Marketing, Art Jimenez, each at just $1 less than Mrs.

                 Meyaart’s salary.     Both hires were male with no hotel or travel agency

                 experience making as much as Mrs. Meyaart with Mr. O’Neill, a director, being

                 in a less senior role than her.

              C. In the Fall of 2016, after Mr. Rodriguez was fired by Mr. Chacko, Mrs. Meyaart

                 made it expressly clear to Mr. Chacko and Kris Parkin, the head of HR, that

                 Mrs. Meyaart was interested in the SVP role. She was ignored and was never

                 even interviewed for the role. In Q2 of 2017, Mr. Chacko, instead, hired

                 Michael Heflin as SVP (a younger male in his 30’s with very little experience),

                 at a compensation level greater than Mrs. Meyaart’s. If she had been a male,

                 she would have not have been treated in that fashion;



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                 D. CIO Travel Leaders Group – In September 2016, Mr. Chacko placed Shoeb

                    Ansari (male 40’s), who had no relevant travel technology experience; and

                 E. SVP Strategic Partnerships – On July 24, 2017, ironically around the same day

                    Mrs. Meyaart was fired and told that her position was “eliminated,” Mr. Chacko

                    placed David Gross (male 50’s) to be Senior VP Strategic Partnerships. That

                    role was never posted. At the same time that Travel Leaders Group was telling

                    Mrs. Meyaart that her position had been eliminated and that there were no other

                    openings in the Company, Travel Leaders Group was actively placing Mr.

                    Gross in a position that Mrs. Meyaart could and should have been considered

                    to fill.

                 F. While one position was briefly mentioned, where she would report to a Vice

                    President only, even Travel Leaders Group acknowledged it was not worth

                    considering by Mrs. Meyaart at that point. No firm offer was made and no salary

                    was discussed.

                 G. Mrs. Meyaart asked to be assigned to a position she had outlined, where she

                    would be reporting to Roger Block, but that was not considered.

                 H. Christina Gambini resigned and Mrs. Meyaart was not even considered for that

                    position.

                 I. Travel Leaders Group earned a huge amount of revenue, in the many billions

                    of dollars, and surely could have found an appropriate position for Mrs.

                    Meyaart, but somehow couldn’t find any that were appropriate to offer her.

          56.    By the time of Mrs. Meyaart’s termination, Mr. Chacko had not hired any female

   Senior VPs or promoted any females to Senior VP at Travel Leaders Group.

          57.    Mrs. Meyaart was wrongfully forced out of the Company without cause.




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          58.     The fiction given to her by Travel Leaders Group, namely, that her position was

   being eliminated, was a bogus pretext. Travel Leaders Group, including, but not limited to, the

   Individual Defendants could have and should have found or created another acceptable position

   for her but did not.

          59.     If Mrs. Meyaart was a male, she would not have been terminated.

          60.     When she was fired summarily on the spot, she received numerous communications

   from a number of prominent board members expressing gratitude and praise, as well as shock and

   disbelief that she had been terminated. It was obvious that Mrs. Meyaart was very highly regarded

   and liked and yet the Individual Defendants got rid of her nevertheless.

          61.     Travel Leaders Group ignored, condoned, and caused various forms of misconduct

   directed at or inappropriately affecting women, some examples of which, are as follows:

                  A.      Mr. Lovell solicited Mrs. Meyaart for sex, made lewd comments, leered at

                          her and commented on her appearance repeatedly over the years. Mrs.

                          Meyaart consistently rejected his passes and direct solicitation for sex. At

                          some point in early, 2017, it was announced that Mr. Lovell would be taking

                          over the reins of the Hotel Division and thereby become Mrs. Meyaart’s

                          more direct boss. On February 7, 2017, Mr. Lovell asked Mrs. Meyaart to

                          meet him at the Boca Beach Club hotel, where he was participating in a golf

                          tournament, and stated that the reason was that he had news regarding her

                          future role in the Hotel Division. Mr. Lovell arranged for Mrs. Meyaart to

                          meet him in the hotel bar that evening. After they ordered drinks, Mr.

                          Lovell stated that he was going to be leading the hotel team and that there

                          was a bigger role for Mrs. Meyaart too, leading the overall engagement and

                          inside sales efforts for the Company, not only the hotel division and its

                          products, but for other products being offered by Travel Leaders Group.



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                    Mr. Lovell asked Mrs. Meyaart whether she “was interested.” Although he

                    left it vague, Mrs. Meyaart responded that she was interested in the larger

                    role in the Company that he had mentioned. Once the meeting ended, Mr.

                    Lovell walked Mrs. Meyaart out to the valet, when he said hello to an

                    acquaintance who was there for the same golf event.               When the

                    acquaintance asked how he was doing, Mr. Lovell responded in Mrs.

                    Meyaart’s presence, that he was “going through another divorce” and that

                    he was “horny.” That made Mrs. Meyaart feel incredibly uncomfortable.

                    When Mr. Lovell and Mrs. Meyaart reached the valet and were waiting for

                    her car, Mr. Lovell commented on Mrs. Meyaart’s appearance and said she

                    looked “really, really great” while staring at her breasts. She feared that he

                    was going to directly ask her for sex again and she became even more

                    nervous. Mrs. Meyaart was never contacted or considered for the Senior

                    VP, Hotel Division, role. A few weeks later, Mr. Lovell announced that

                    Michael Heflin had been hired as Senior VP of the Hotel Division. The

                    larger role for Mrs. Meyaart never materialized; and

                 B. In Q4 of 2015, Eric Rodriguez had Mrs. Meyaart’s counterpart, Christina

                    Gambini, and Mrs. Meyaart meet with him in Las Vegas to review his plan

                    for reorganizing the team. At that time, he advised that he was creating a

                    VP of Supplier Relations and Programs role and a VP of Agency Demand

                    role and asked Mrs. Meyaart and Mrs. Gambini which roles they

                    wanted.   Both Mrs. Gambini and Mrs. Meyaart wanted the Supplier

                    Relations and Programs role. At their dinner meeting, Mrs. Meyaart noticed

                    Mr. Rodriguez becoming flirtatious as he drank. He suggested they go to

                    the restaurant bar after dinner for a night cap. As Mr. Rodriguez ordered



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                                more drinks and became more flirtatious, Mrs. Meyaart became

                                uncomfortable so Mrs. Meyaart said goodnight and went to her room

                                leaving Mr. Rodriguez and Mrs. Gambini behind.            The VP Supplier

                                Relations and Programs role was given to Mrs. Gambini shortly afterwards

                                although Mrs. Meyaart had created all of the programs and negotiated their

                                most lucrative supplier contracts. Later, Mrs. Meyaart came to find out that,

                                after Mrs. Gambini retired to her room, Mr. Rodriguez kept calling her room

                                asking her to come back and join him.

                            C. Additional specific “me too” examples shall be provided during this case

                                and as brought to light during discovery and further investigation.

              62.      Mrs. Meyaart suffered tangible adverse actions that have affected the terms and

   conditions of her employment, including, but not limited to, among other things:

                            A. Mrs. Meyaart has been punished and suffered adverse employment actions
                               for refusing a direct solicitation for sex from a male superior;

                            B. Mrs. Meyaart was subjected to a hostile work environment that favored
                               males and subjected females to constant harassment that was overlooked
                               and ignored by HR despite complaints;

                            C. Mrs. Meyaart was never considered or interviewed for openings in the
                               Company (some advertised and others not);

                            D. Mrs. Meyaart was never interviewed or considered for openings for which
                               she expressed an interest in being considered;

                            E. Mrs. Meyaart was passed over for promotions in favor of unqualified or
                               under-qualified, inexperienced, and unproven males; 2 male SVPs were
                               hired over her even though they had less experience than her; Mrs. Meyaart
                               wasn’t even given an opportunity to be interviewed for the position to lead
                               the Division that she had created;

                            F. Mrs. Meyaart was not given a raise for over five years despite performance
                               warranting a raise; the male Sr. Director hired in 2016 at a nominal few
                               dollars4 less than Mrs. Meyaart received a promotion despite a bad peer


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                                review, while Mrs. Meyaart had been told that she was maxed out at a
                                nominal few dollars more than him5 in a superior VP position;

                            G. Mrs. Meyaart received unwarranted negative comments in connection with
                               her 2016 reviews;

                            H. Mrs. Meyaart was not given bonuses despite promises, assurances and
                               performance warranting bonuses;

                            I. Unqualified or under-qualified, inexperienced, and unproven males
                               received the same compensation as Mrs. Meyaart;

                            J. Mrs. Meyaart was told her position was being eliminated as a pretext for
                               wrongfully terminating her and removing her from the Company without
                               cause;

                            K. Mrs. Meyaart was offered limited severance compared to a male who
                               received severance of one year after being with the Company for only a
                               year; and

                            L. Mrs. Meyaart’s request to be considered for another position within the
                               Company was rebuffed based on a pretext that there were no other positions
                               available when, in fact another male was hired for a position for which Mrs.
                               Meyaart could have been considered.

              63.      The actions of the employees of Travel Leaders Group alleged herein occurred

   within the course and scope of their employment so as to make Travel Leaders Group vicariously

   liable.

              64.      These actions were known to the Board, which overlooked and condoned such

   behavior and did nothing to prevent, stop or punish such behavior.

              65.      Mrs. Meyaart made various complaints to TLG’s leadership and HR department

   but her complaints were ignored and so were the complaints of other women.

              66.      The HR department of TLG typically told complaining women to “work things

   out,” “avoid problems,” “what do you expect me/us to do about it,” and “there’s nothing we can

   do about it.”




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          67.     The HR Department at TLG was a farcical charade. It’s director had little if any

   formal HR training or experience and had little if any power to ensure compliance with legal

   requirements or investigate complaints and develop solutions (in fact, in this instance, Mrs.

   Meyaart demanded that an investigation be conducted and none was ever conducted). Making

   formal complaints would have been futile. There was no, or inadequate, training of management.

   Some women feared escalating complaints because they felt their jobs would be in jeopardy,

   including, but not limited to Mrs. Meyaart. Infractions and non-compliance occurred with impunity

   because male perpetrators knew they could get away with it with impunity.

          68.     Mrs. Meyaart suffered damages as a direct and proximate result of the wrongful

   actions taken against her, including, but not limited to, loss of her total compensation and benefits

   (including, but not limited to, her pro rata bonus for calendar year 2017), as well as raises,

   promotions, bonuses and stock options to which she was or would have become entitled to receive.

          69.     All conditions precedent to the filing of this action have been performed, have

   occurred, or have been excused.

          70.     Mrs. Meyaart has retained the law firm of Schwarzberg & Associates and promised

   to pay it a reasonable fee for attorneys and paralegal services.

                                        COUNT I
                             EQUAL PAY ACT, 29 USC SECTION 206

          71.     Mrs. Meyaart re-alleges the General Allegations as if set forth fully herein.

          72.      The federal Equal Pay Act, 29 U.S.C. § 206(d)(1) prohibits employers from

   discriminating between employees on the basis of sex by paying different wages for equal work

   on jobs the performance of which requires equal skill, effort, and responsibility.

          73.     Travel Leaders Group violated the Equal Pay Act because it paid different wages

   to employees of the opposite sex, including, but not limited to, Mrs. Meyaart.




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          74.     Travel Leaders Group’s employees who were not paid equal pay performed equal

   work on jobs requiring equal skill, effort, and responsibility, including, but not limited to, Mrs.

   Meyaart.

          75.     At various times during the course of her employment, Mrs. Meyaart performed

   work equal in skill, effort, and responsibility to the work of certain male employees who were paid

   higher compensation.

                      A. As to skill, Mrs. Meyaart had experience, training, education, and ability
                         comparable to males who were paid more;

                      B. As to effort, the level of physical and mental exertion required for Mrs.
                         Meyaart to perform her job was comparable to males who were paid more;

                      C. As to responsibility, the amount of obligation and accountability required
                         for Mrs. Meyaart to perform her job was comparable to that required of
                         males who were paid more; and

                      D. As to working conditions, Mrs. Meyaart’s environment and hazards
                         presented by her job were comparable to those of males who were paid
                         more.

          76.     Compared to Mrs. Meyaart, males who performed equal work on comparable jobs

   requiring equal skill, effort, and responsibility under similar working conditions included, but were

   not limited to the following:

                      A.   Peter Vilitas, SVP Airline Relations.
                      B.   Ron Cerko, SVP Franchise Development
                      C.   Scott Ackerman, SVP Product Development
                      D.   Michael Heflin, SVP, Hotel;
                      E.   Erick Rodriguez, SVP Hotel; and
                      F.   others to be identified

   (the “Male Comparators”).

          77.     The Male Comparators received higher compensation, greater benefits, more perks

   and enjoyed better working conditions including, but not limited to:

                      A.   Salary;
                      B.   Bonuses;
                      C.   Incentives;
                      D.   Promotions;



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                      E. Insurance coverage (e.g., Mrs. Meyaart paid for all of her healthcare
                         benefits, whereas there were other executives who had their benefits
                         subsidized);
                      F. Vacation and PTO;
                      G. Use of company resources and equipment; and
                      H. Perks, including, but not limited to, things like airline upgrades and other
                         benefits reserved for the “inner circle’;
                      I. Support staff; and
                      J. other benefits.

   (collectively, “Different Wages”).

          78.     The Different Wages was based on gender.

          79.     Mrs. Meyaart received less of the Different Wages than males for equal work on

   jobs the performance of which required equal skill, effort, and responsibility.

          80.     The actions of Travel Leaders Group constituted a violation of 29 USC206 (d)(1).

          81.     Mrs. Meyaart orally complained to her supervisors and the Travel Leaders Group

   HR department on a number of occasion of the Mistreatment and the Wrongful Actions and her

   unequal treatment, asserting her rights and demanding a correction, sufficient to inform Travel

   Leaders Group that Mrs. Meyaart was exerting her rights.

          82.     Mrs. Meyaart complained that her pay should reflect her achievement, and at least

   mirror that of her male colleagues.

          83.     Mrs. Meyaart was hired and held out as a Senior Vice President and was assigned

   and performed the duties of a Senior Vice President.

          84.     Adding insult to injury, Travel Leaders Group also hired males with much less

   experience and lower level duties but paid those males as much or almost as much as Mrs. Meyaart

   was paid, making Mrs. Meyaart underpaid for the position she held and the duties she performed.

          85.     Mrs. Meyaart also complained to Human Resources of the Mistreatment and the

   Wrongful Actions and of retaliation.




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              86.      As she was one of the few female Vice President/defacto SVPs, her request for pay

   parity with her male counterparts, and complaint of retaliation, put Travel Leaders Group on notice

   that she was asserting her legal rights under federal law.

              87.      Travel Leaders Group knew or should have known about the Equal Pay Act and its

   provisions. One such indication, among others, is that Travel Leaders Group deviously hired a

   number of male employees who held positions that were inferior to Mrs. Meyaart and who were

   less experienced and paid them a nominal amount less6 than Mrs. Meyaart just to try to circumvent

   the Equal Pay Act specifically.

              88.      As a direct and proximate result of Travel Leaders Group’s violation of the Equal

   Pay Act, Mrs. Meyaart suffered damages.

              89.      Mrs. Meyaart is entitled to recover her compensatory and well as her liquidated

   damages.

              90.      Travel Leaders Group recklessly disregarded the Equal Pay Act, such that Mrs.

   Meyaart is entitled to entry of an award of punitive damages.

              91.      Travel Leaders Group acted intentionally and knowingly sufficient to justify the

   application of an extended three-year statute of limitations.

              WHEREFORE, Mrs. Meyaart demands judgments for damages in the form of back pay

   and such amount as the Courts finds Mrs. Meyaart has been lawfully underpaid, liquidated

   damages in an amount equal to her actual damages, reasonable attorneys’ fees pursuant to 29 USC

   216 (b), punitive damages and such other relief as this Court deems appropriate.

                                    COUNT II
                             FL.STAT. SECTION 725.07,
       DISCRIMINATION ON BASIS OF SEX, MARITAL STATUS, OR RACE FORBIDDEN

              92.      Mrs. Meyaart re-alleges the General Allegations as if set forth fully herein.



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           93.     Florida Statute Section 725.07 (“Florida’s Equal Pay Act”) provides:

           (1) No person, as defined in s. 1.01(3) shall discriminate against any person
           based on sex, marital status, or race in the areas of loaning money, granting credit,
           or providing equal pay for equal services performed.
           (2) Any violation of this section may be brought in the courts of this state by the
           individual upon whom the discrimination has been perpetrated in a civil action,
           and said individual shall be entitled to collect, not only compensatory damages,
           but, in addition thereto, punitive damages and reasonable attorney fees for a
           violation of this section.


           94.     Travel Leaders Group violated Florida's Equal Pay Act because it discriminated

   against Mrs. Meyaart based on her sex, female, as compared to males.

           95.     Mrs. Meyaart was not paid equal pay for performing equal work on jobs requiring

   equal skill, effort, and responsibility.

           96.     At various times during the course of her employment, Mrs. Meyaart performed

   work equal in skill, effort, and responsibility to the work of certain male employees who were paid

   higher compensation.

                       A. As to skill, Mrs. Meyaart had experience, training, education, and ability
                          comparable to males who were paid more;

                       B. As to effort, the level of physical and mental exertion required for Mrs.
                          Meyaart to perform her job was comparable to males who were paid more;

                       C. As to responsibility, the amount of obligation and accountability required
                          for Mrs. Meyaart to perform her job was comparable to that required of
                          males who were paid more; and

                       D. As to working conditions, Mrs. Meyaart’s environment and hazards
                          presented by her job were comparable to those of males who were paid
                          more.

           97.     Compared to Mrs. Meyaart, males who performed equal work on comparable jobs

   requiring equal skill, effort, and responsibility under similar working conditions included, but were

   not limited to the following:

                       A.   Peter Vilitas, SVP Airline Relations.
                       B.   Ron Cerko, SVP Franchise Development
                       C.   Scott Ackerman, SVP Product Development
                       D.   Michael Heflin, SVP, Hotel;


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                      E. Erick Rodriguez, SVP Hotel; and
                      F. others to be identified

   (the “Male Comparators”).

          98.     The Male Comparators received higher compensation, greater benefits, more perks

   and enjoyed better working conditions including, but not limited to:

                      A.   Salary;
                      B.   Bonuses;
                      C.   Incentives;
                      D.   Promotions;
                      E.   Insurance coverage (e.g., Mrs. Meyaart paid for all of her healthcare
                           benefits, whereas there were other executives who had their benefits
                           subsidized);
                      F.   Vacation and PTO;
                      G.   Use of company resources and equipment; and
                      H.   Perks, including, but not limited to, things like airline upgrades and other
                           benefits reserved for the “inner circle’;
                      I.   Support staff; and
                      J.   other benefits.

   (collectively, “Different Wages”).

          99.     The Different Wages was based on gender.

          100.    Mrs. Meyaart received less of the Different Wages than males for equal work on

   jobs the performance of which required equal skill, effort, and responsibility.

          101.    The actions of Travel Leaders Group constituted a violation of the Florida's Equal

   Pay Act.

          102.    Mrs. Meyaart orally complained to her supervisors and the Travel Leaders Group

   HR department on a number of occasion of the Mistreatment and the Wrongful Actions and her

   unequal treatment, asserting her rights and demanding a correction, sufficient to inform Travel

   Leaders Group that Mrs. Meyaart was exerting her rights.

          103.    Mrs. Meyaart complained that her pay should reflect her achievement, and at least

   mirror that of her male colleagues.




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              104.     Mrs. Meyaart was hired and held out as a Senior Vice President and was assigned

   and performed the duties of a Senior Vice President.

              105.     Adding insult to injury, Travel Leaders Group also hired males with much less

   experience and lower level duties but paid those males as much or almost as much as Mrs. Meyaart

   was paid, making Mrs. Meyaart underpaid for the position she held and the duties she performed.

              106.     Mrs. Meyaart also complained to Human Resources of Mistreatment and the

   Wrongful Actions and of retaliation.

              107.     As she was one of the few female Vice President/defacto SVPs, her request for pay

   parity with her male counterparts, and complaint of retaliation, put Travel Leaders Group on notice

   that she was asserting her legal rights under Florida law.

              108.     Travel Leaders Group knew or should have known about the Florida's Equal Pay

   Act and its provisions. One such indication, among others, is that Travel Leaders Group deviously

   hired a number of male employees who held positions that were inferior to Mrs. Meyaart and who

   were less experienced and paid them a nominal amount less7 than Mrs. Meyaart just to try to

   circumvent the Florida's Equal Pay Act specifically.

              109.     As a direct and proximate result of Travel Leaders Group’s violation of the Florida's

   Equal Pay Act, Mrs. Meyaart suffered damages.

              110.     Mrs. Meyaart is entitled to recover her compensatory and punitive damages and

   attorneys’ fees.

              111.     Travel Leaders Group knowingly, intentionally, maliciously and recklessly

   disregarded the Florida's Equal Pay Act, such that Mrs. Meyaart is entitled to entry of an award of

   punitive damages.




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             WHEREFORE, Mrs. Meyaart demands judgments for damages in the form of back pay

   and such amount as the Courts finds Mrs. Meyaart has been lawfully underpaid, punitive damages,

   reasonable attorneys’ fees and such other relief as this Court deems appropriate.

                                            COUNT III
                                      NEGLIGENT RETENTION

             112.   Mrs. Meyaart re-alleges the General Allegations as if fully set forth herein.

             113.   Travel Leaders Group owed a duty of care to Mrs. Meyaart not to subject her to the

   negligent careless treatment from other co-employees, in this case, the employees about whom she

   complained concerning their involvement in committing the Mistreatment and Wrongful Actions

   or their condoning, acquiescing or ratifying the Mistreatment and Wrongful Actions, including,

   but not limited to, Mr. Chacko and Mr. Lovell.

             114.   Numerous complaints had been made against Mr. Chacko and Mr. Lovell, before

   any adverse employment actions had been imposed against Mrs. Meyaart. Those complaints

   concerned: a) their involvement in committing the Wrongful Actions; b) their condoning,

   acquiescing or ratifying the Wrongful Actions; c) their involvement in, and condoning, violations

   by Travel Leaders Group of various laws, rules and regulations; and d) their mistreatment of, and

   wrongful conduct toward, female employees of Travel Leaders Group.

             115.   Travel Leaders Group including, but not limited to, its Board of Directors, knew,

   or should have known, of or about the complaints that had been made against Mr. Chacko and Mr.

   Lovell.

             116.   Both Mr. Chacko and Mr. Lovell played a pivotal role in the imposition of adverse

   employment actions against Mrs. Meyaart.

             117.   Mr. Chacko harbored resentment toward Mrs. Meyaart, in part, because members

   of the Board had asked her input on someone who was a personal friend of his who Mr. Chacko

   hired and Mr. Chacko was told that either he had to fire that friend or be fired himself. Members




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   of the Board knew or should have known that Mr. Chacko hired and protected less- or unqualified

   male friends to the disadvantage of females such as Mrs. Meyaart.

           118.     Mr. Lovell harbored resentment toward Mrs. Meyaart, in part, because she had

   rebuffed his prior sexual advances and was otherwise unresponsive to him and his overtures and

   solicitations.

           119.     Both Mr. Chacko and Mr. Lovell acted solely out of malice in tortiously interfering

   with the advantageous business relationship between Travel Leaders Group and Mrs. Meyaart

   when they failed to take action and in other instances when they took action adverse to the

   employment interests of Mrs. Meyaart, including, but not limited to, the Wrongful Actions and,

   ultimately, her termination.

           120.     Travel Leaders Group knew or should have known of Mr. Chacko’s and Mr.

   Lovell’s unfitness and it failed to take any action related to them, including, but not limited to,

   investigating, discharging or re-assignment.

           121.     Travel Leaders Group breached the duty of care owed to Mrs. Meyaart in that

   Travel Leaders Group knew or should have known that Mr. Chacko and Mr. Lovell would subject

   Mrs. Meyaart to adverse employment actions based on discrimination, harassment, hostile work

   environment, retaliation, the Objections, violation of the Equal Pay Act, and other reasons.

           122.     Members of the Board, who knew better, sat by indifferently and apathetically, and

   permitted the Wrongful Actions to occur when they knew or should have known that Mrs. Meyaart

   would become victimized repeatedly.

           123.     Travel Leaders Group’s breach of the duty of care caused Mrs. Meyaart to suffer

   damages, including, but not limited to adverse employment actions, including, but not limited to,

   termination, and severe emotional distress.

           124.     Travel Leaders Group’s actions were careless in the retention of Mr. Chacko and

   Mr. Lovell and fell below the standard of care expected of employers in a similar position.



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          125.    The toxic environment that permeated Travel Leaders Group that caused or

   facilitated the Wrongful Actions were known, or should have been known, by Travel Leaders

   Group and its officers and Board of Directors.

          126.    Travel Leaders Group was aware of the numerous complaints and deficiencies at

   Travel Leaders Group, and with regard to Mr. Chacko and Mr. Lovell specifically, and did nothing

   to protect Mrs. Meyaart from Mr. Chacko and Mr. Lovell.

          127.    Travel Leaders Group knew or should have known that Mr. Chacko and Mr. Lovell

   had been negligently retained.

          128.    Mrs. Meyaart suffered economic damages as a direct and proximate result thereof.

          129.    Travel Leaders Group’s actions were grossly negligent so as to justify the

   imposition of punitive damages.

          WHEREFORE, Mrs. Meyaart respectfully requests this Honorable Court to enter in

   her favor a judgment against Travel Leaders Group for damages, interest and costs, and any other

   and further relief that this Honorable Court deems just and proper, including, but not limited to, an

   award of punitive damages.

                                          COUNT IV
                                    TORTIOUS INTERFERENCE

          130.    Mrs. Meyaart re-alleges the General Allegations as if fully set forth herein.

          131.    Mr. Chacko and Mr. Lovell were supervisors and superior to Mrs. Meyaart and they

   played a substantial role in the adverse employment actions she suffered, including, but not limited

   to, her termination.

          132.    Mr. Chacko and Mr. Lovell directly, intentionally and unjustifiedly interfered with

   the advantageous business relationship between Mrs. Meyaart and Travel Leaders Group and, as

   a direct and proximate result thereof, Mrs. Meyaart suffered damages.




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           133.     Both Mr. Chacko and Mr. Lovell played a pivotal role in the imposition of adverse

   employment actions against Mrs. Meyaart.

           134.     Mr. Chacko harbored resentment toward Mrs. Meyaart, in part, because members

   of the Board had asked her input on someone who was a personal friend of his who Mr. Chacko

   hired and Mr. Chacko was told that either he had to fire that friend or be fired himself. Members

   of the Board knew or should have known that Mr. Chacko hired and protected less- or unqualified

   male friends to the disadvantage of females such as Mrs. Meyaart.

           135.     Mr. Lovell harbored resentment toward Mrs. Meyaart, in part, because she had

   rebuffed his prior sexual advances and was otherwise unresponsive to him and his overtures and

   solicitations.

           136.     Mr. Chacko’s and Mr. Lovell’s actions were conducted solely out of malice and for

   an ulterior motive that was not in the best interest of Travel Leaders Group, including, but not

   limited to, Mr. Chacko punishing Mrs. Meyaart for communicating directly with Board members

   at their request about operations, punishing Mrs. Meyaart for rejecting solicitations for sex, and

   preventing Mrs. Meyaart from continuing to object and make her Objections.

           137.     Mr. Chacko and Mr. Lovell’s actions were so willful, wanton and malicious so as

   to justify the imposition of punitive damages for which Mrs. Meyaart reserves the right to make a

   statutory showing so that her pleadings may be amended accordingly.

           WHEREFORE, Mrs. Meyaart respectfully requests this Honorable Court to enter in her

   favor a judgment against Mr. Chacko and Mr. Lovell, jointly and severally, for damages, interest

   and costs, and any other and further relief that this Honorable Court deems just and proper

   including, but not limited to, punitive damages.

                                 COUNT V
     GENDER DISCRIMINATION UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF
                 1964, AS AMENDED AND 42 U.S.C. §§ 2000e et seq.




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           138.    Mrs. Meyaart re-alleges the General Allegations and paragraphs 72-91 as if fully

   set forth herein.

           139.    TLG has discriminated against Mrs. Meyaart on the basis of her gender in violation

   of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq., by subjecting

   her to disparate treatment based upon her gender, including, but not limited to, denying her equal

   terms and conditions of employment, and subjecting her to disparate working terms and conditions

   while Mrs. Meyaart was working for Travel Leaders Group.

           140.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

   violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.,

   Mrs. Meyaart has suffered, and continues to suffer, monetary and/or economic harm for which she

   is entitled to an award of monetary damages and other relief.

           141.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct in

   violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.,

   Mrs. Meyaart has suffered, and continues to suffer, severe mental anguish and emotional distress

   for which she is entitled to an award of monetary damages and other relief.

           142.    Travel Leaders Group violated the rights of Mrs. Meyaart under Title VII of the

   Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq., in numerous ways including,

   but not limited to the Wrongful Actions and by:

                   A.     failing to investigate her complaints;

                   B.     failing to investigate her complaints timely;

                   C.     failing to take reasonable steps to handle and/or resolve her complaints;

                   D.     giving her unwarranted negative performance reviews;

                   E.     intimidating, threatening and maligning her;

                   F.     subjecting her to a hostile work environment;

                   G.     taking other adverse employment actions against her; and



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                    H.     retaliating against her.

          143.      Travel Leaders Group’s discrimination against Mrs. Meyaart caused her to suffer

   physical and emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety,

   depression, and loss of enjoyment of life.

          144.      Travel Leaders Group’s actions in discriminating against Mrs. Meyaart as alleged

   herein were egregious and taken in conscious disregard of or with deliberate indifference to Mrs.

   Meyaart’s     rights   outrageously,    wantonly,       and   oppressively,   and   with   legal   and

   actual malice.

          145.      Travel Leaders Group violated Title VII of the Civil Rights Act of 1964, as

   amended, 42 U.S.C. §§ 2000e et seq., and discriminated against Mrs. Meyaart based on her gender

   by subjecting Mrs. Meyaart to Travel Leaders Group’s Wrongful Actions and other actions based

   on Mrs. Meyaart’s gender, and were taken either as pretexts to discrimination or as a result of

   Travel Leaders Group’s mixed motives, at least one of which was discrimination.

          146.      Travel Leaders Group’s discrimination caused Mrs. Meyaart to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                    A.     An Order declaring that Travel Leaders Group violated her civil rights under

                           Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e

                           et seq., and restraining and enjoining Travel Leaders Group from further

                           such violations;

                    B.     Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                           unlawfully being discriminated against;




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                    C.     Compensatory and punitive damages in an amount to be determined at trial

                           to compensate her for the emotional pain, embarrassment, humiliation,

                           mental anguish, inconvenience, career loss, loss of professional reputation,

                           loss of enjoyment of life, and detrimental impact on her health caused by

                           Travel Leaders Group’s unlawful actions;

                    D.     Record correction to remove the negative performance appraisals from her

                           personnel file and replace it with one rating her at the “Exceeds

                           Expectations” level in each performance area or a substantially similar

                           correction;

                    E.     The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                    F.     Such other relief as may be just and appropriate.

                                 COUNT VI
      HOSTILE ENVIRONMENT UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF
                 1964, AS AMENDED AND 42 U.S.C. §§ 2000e et seq.

          147.      Mrs. Meyaart incorporates the General Allegations and paragraphs 72-91, as

   though fully set forth here.

          148.      Travel Leaders Group’s actions amounted to a hostile work environment against

   Mrs. Meyaart which caused her to suffer physical and emotional pain, embarrassment, humiliation,

   mental anguish, inconvenience, anxiety, depression, and loss of enjoyment of life.

          149.      Travel Leaders Group’s actions in creating a hostile work environment against Mrs.

   Meyaart as alleged herein were egregious and taken in conscious disregard of or with deliberate

   indifference to Mrs. Meyaart’s rights outrageously, wantonly, and oppressively, and with legal and

   actual malice.

          150.      Travel Leaders Group violated Title VII of the Civil Rights Act of 1964, as

   amended, 42 U.S.C. §§ 2000e et seq., and created a hostile work environment against Mrs. Meyaart

   due to her gender by subjecting Mrs. Meyaart to Travel Leaders Group’s Wrongful Actions and



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   other actions based on Mrs. Meyaart’s gender, female, and were taken either as pretexts to

   discrimination or as a result of Travel Leaders Group’s mixed motives, at least one of which was

   discrimination.

          151.    Travel Leaders Group’s creation of a hostile work environment caused Mrs.

   Meyaart to suffer physical and emotional pain, embarrassment, humiliation, mental anguish,

   inconvenience, anxiety, depression, and loss of enjoyment of life.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                  A.     An Order declaring that Travel Leaders Group violated her civil rights under

                         Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e

                         et seq., and restraining and enjoining Travel Leaders Group from further

                         such violations;

                  B.     Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                         unlawfully being subjected to a hostile work environment;

                  C.     Compensatory and punitive damages in an amount to be determined at trial

                         to compensate her for the emotional pain, embarrassment, humiliation,

                         mental anguish, inconvenience, career loss, loss of professional reputation,

                         loss of enjoyment of life, and detrimental impact on her health caused by

                         Travel Leaders Group’s unlawful actions;

                  D.     Record correction to remove the negative performance appraisals from her

                         personnel file and replace it with one rating her at the “Exceeds

                         Expectations” level in each performance area or a substantially similar

                         correction;

                  E.     The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                  F.     Such other relief as may be just and appropriate.



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                                COUNT VII
         RETALIATION UNDER TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
                    AS AMENDED AND 42 U.S.C. §§ 2000e et seq.

          152.    Mrs. Meyaart incorporates the General Allegations and paragraphs 72-91, as

   though fully set forth here.

          153.    Mrs. Meyaart complained of the Mistreatment and the Wrongful Actions and Mr.

   Lovell’s offensive and inappropriate behavior, which was well-known in the Company.

          154.    Despite Mrs. Meyaart’s complaints about Mr. Lovell, and what was known about

   him, he was permitted to remain her supervisor, who would ultimately decide whether Mrs.

   Meyaart would be promoted.

          155.    Mrs. Meyaart was ultimately denied and/or not considered for several promotions,

   decisions over which Mr. Lovell maintained a leadership role and was intricately involved, and

   through which Mr. Lovell retaliated against Mrs. Meyaart for having complained about his

   inappropriate and unlawful conduct and for having rebuffed his solicitations.

          156.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

   violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.,

   Mrs. Meyaart has suffered, and continues to suffer, monetary and/or economic harm for which she

   is entitled to an award of monetary damages and other relief.

          157.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

   violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.,

   Mrs. Meyaart has suffered, and continues to suffer, severe mental anguish and emotional distress

   to which she is entitled to an award of monetary damages and other relief.

          158.    Travel Leaders Group’s actions, and failures to act, including, but not limited to her

   termination, amounted to retaliation against Mrs. Meyaart which caused her to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.



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          159.    Travel Leaders Group’s actions in retaliating against Mrs. Meyaart as alleged

   herein were egregious and taken in conscious disregard of or with deliberate indifference to Mrs.

   Meyaart’s rights outrageously, wantonly, and oppressively, and with legal and actual malice.

          160.    Travel Leaders Group violated Title VII of the Civil Rights Act of 1964, as

   amended, 42 U.S.C. §§ 2000e et seq., and retaliated against Mrs. Meyaart due to her gender by

   subjecting Mrs. Meyaart to Travel Leaders Group’s actions based on Mrs. Meyaart’s gender, and

   were taken either as pretexts to discrimination or as a result of Travel Leaders Group’s mixed

   motives, at least one of which was discrimination.

          161.    Travel Leaders Group’s retaliation caused Mrs. Meyaart to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.

          162.    In taking the foregoing actions, Travel Leaders Group subjected Mrs. Meyaart to a

   severe and pervasive and/or materially adverse hostile work environment.

          163.    Travel Leaders Group’s actions were based on reprisal and were taken either as

   pretexts to retaliation or as a result of Travel Leaders Group’s mixed motives, at least one of which

   was retaliation, for Mrs. Meyaart’s engagement in activity protected under Title VII of the Civil

   Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq. Travel Leaders Group’s actions would

   likely have dissuaded a reasonable employee from making or supporting a complaint of

   discrimination.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                  A.      An Order declaring that Travel Leaders Group violated her civil rights under

                          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e

                          et seq., and restraining and enjoining Travel Leaders Group from further

                          such violations;



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                   B.     Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                          unlawfully being subjected to a hostile work environment;

                   C.     Compensatory and punitive damages in an amount to be determined at trial

                          to compensate her for the emotional pain, embarrassment, humiliation,

                          mental anguish, inconvenience, career loss, loss of professional reputation,

                          loss of enjoyment of life, and detrimental impact on her health caused by

                          Travel Leaders Group’s unlawful actions;

                   D.     Record correction to remove the negative performance appraisals from her

                          personnel file and replace it with one rating her at the “Exceeds

                          Expectations” level in each performance area or a substantially similar

                          correction;

                   E.     The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                   F.     Such other relief as may be just and appropriate.

                             COUNT VIII
   GENDER DISCRIMINATION UNDER CHAPTER 760, FLORIDA CIVIL RIGHTS ACT

           164.    Mrs. Meyaart re-alleges the General Allegations and paragraphs 72-91, as if fully

   set forth herein.

           165.    TLG has discriminated against Mrs. Meyaart on the basis of her gender in violation

   of Florida Civil Rights Act, Chapter 760, by subjecting her to disparate treatment based upon her

   gender, including, but not limited to, denying her equal terms and conditions of employment, and

   subjecting her to disparate working terms and conditions while Mrs. Meyaart was working for

   Travel Leaders Group.

           166.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

   Mrs. Meyaart has suffered, and continues to suffer, monetary and/or economic harm for which she

   is entitled to an award of monetary damages and other relief.




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          167.      As a direct and proximate result of Defendants’ unlawful discriminatory conduct,

   Mrs. Meyaart has suffered, and continues to suffer, severe mental anguish and emotional distress

   for which she is entitled to an award of monetary damages and other relief.

          168.      Travel Leaders Group violated the rights of Mrs. Meyaart, in numerous ways

   including:

                    A.     failing to investigate her complaints;

                    B.     failing to investigate her complaints timely;

                    C.     failing to take reasonable steps to handle and/or resolve her complaints;

                    D.     giving her unwarranted negative performance reviews;

                    E.     intimidating, threatening and maligning her;

                    F.     subjecting her to a hostile work environment;

                    G.     taking other adverse employment actions against her; and

                    H.     retaliating against her.

          169.      Travel Leaders Group’s discrimination against Mrs. Meyaart caused her to suffer

   physical and emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety,

   depression, and loss of enjoyment of life.

          170.      Travel Leaders Group’s actions in discriminating against Mrs. Meyaart as alleged

   herein were egregious and taken in conscious disregard of or with deliberate indifference to Mrs.

   Meyaart’s     rights   outrageously,    wantonly,       and   oppressively,   and   with   legal   and

   actual malice.

          171.      Travel Leaders Group violated Florida Civil Rights Act, Chapter 760, and

   discriminated against Mrs. Meyaart based on her gender by subjecting Mrs. Meyaart to Travel

   Leaders Group’s actions based on Mrs. Meyaart’s gender, and were taken either as pretexts to

   discrimination or as a result of Travel Leaders Group’s mixed motives, at least one of which was

   discrimination.



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          172.    Travel Leaders Group’s discrimination caused Mrs. Meyaart to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                  A.      An Order declaring that Travel Leaders Group violated her civil rights under

                          Florida Civil Rights Act, Chapter 760, and restraining and enjoining Travel

                          Leaders Group from further such violations;

                  B.      Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                          unlawfully being discriminated against;

                  C.      Compensatory and punitive damages in an amount to be determined at trial

                          to compensate her for the emotional pain, embarrassment, humiliation,

                          mental anguish, inconvenience, career loss, loss of professional reputation,

                          loss of enjoyment of life, and detrimental impact on her health caused by

                          Travel Leaders Group’s unlawful actions;

                  D.      Record correction to remove the negative performance appraisals from her

                          personnel file and replace it with one rating her at the “Exceeds

                          Expectations” level in each performance area or a substantially similar

                          correction;

                  E.      The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                  F.      Such other relief as may be just and appropriate.



                              COUNT IX
    HOSTILE ENVIRONMENT UNDER CHAPTER 760, FLORIDA CIVIL RIGHTS ACT




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          173.      Mrs. Meyaart incorporates the General Allegations and paragraphs 72-91, as

   though fully set forth here.

          174.      Travel Leaders Group’s actions amounted to a hostile work environment against

   Mrs. Meyaart which caused her to suffer physical and emotional pain, embarrassment, humiliation,

   mental anguish, inconvenience, anxiety, depression, and loss of enjoyment of life.

          175.      Travel Leaders Group’s actions in creating a hostile work environment against Mrs.

   Meyaart as alleged herein were egregious and taken in conscious disregard of or with deliberate

   indifference to Mrs. Meyaart’s rights outrageously, wantonly, and oppressively, and with legal and

   actual malice.

          176.      Travel Leaders Group violated Florida Civil Rights Act, Chapter 760, and created

   a hostile work environment against Mrs. Meyaart due to her gender by subjecting Mrs. Meyaart to

   Travel Leaders Group’s actions based on Mrs. Meyaart’s gender, female, and were taken either as

   pretexts to discrimination or as a result of Travel Leaders Group’s mixed motives, at least one of

   which was discrimination.

          177.      Travel Leaders Group’s creation of a hostile work environment caused Mrs.

   Meyaart to suffer physical and emotional pain, embarrassment, humiliation, mental anguish,

   inconvenience, anxiety, depression, and loss of enjoyment of life.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                    A.     An Order declaring that Travel Leaders Group violated her civil rights under

                           Florida Civil Rights Act, Chapter 76, and restraining and enjoining Travel

                           Leaders Group from further such violations;

                    B.     Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                           unlawfully being subjected to a hostile work environment;




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                  C.      Compensatory and punitive damages in an amount to be determined at trial

                          to compensate her for the emotional pain, embarrassment, humiliation,

                          mental anguish, inconvenience, career loss, loss of professional reputation,

                          loss of enjoyment of life, and detrimental impact on her health caused by

                          Travel Leaders Group’s unlawful actions;

                  D.      Record correction to remove the negative performance appraisals from her

                          personnel file and replace it with one rating her at the “Exceeds

                          Expectations” level in each performance area or a substantially similar

                          correction;

                  E.      The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                  F.      Such other relief as may be just and appropriate.

                                 COUNT X
           RETALIATION UNDER CHAPTER 760, FLORIDA CIVIL RIGHTS ACT

          178.    Mrs. Meyaart incorporates the General Allegations and paragraphs 72-91, as

   though fully set forth here.

          179.    Mrs. Meyaart complained of Mr. Lovell’s offensive and inappropriate behavior,

   which was well-known in the Company.

          180.    Despite Mrs. Meyaart’s complaints about Mr. Lovell, and what was known about

   him, he was permitted to remain her supervisor, who would ultimately decide whether Mrs.

   Meyaart would be promoted.

          181.    Mrs. Meyaart was ultimately denied and/or not considered for several promotions,

   decisions over which Mr. Lovell maintained a leadership role and was intricately involved, and

   through which Mr. Lovell retaliated against Mrs. Meyaart for having complained about his

   inappropriate and unlawful conduct and for having rebuffed his solicitations.




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           182.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

   violation of Florida Civil Rights Act, Chapter 760, Mrs. Meyaart has suffered, and continues to

   suffer, monetary and/or economic harm for which she is entitled to an award of monetary damages

   and other relief.

           183.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct

   Florida Civil Rights Act, Chapter 760, Mrs. Meyaart has suffered, and continues to suffer, severe

   mental anguish and emotional distress to which she is entitled to an award of monetary damages

   and other relief.

           184.    Travel Leaders Group’s actions, and failures to act, including, but not limited to her

   termination, amounted to retaliation against Mrs. Meyaart which caused her to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.

           185.    Travel Leaders Group’s actions in retaliating against Mrs. Meyaart as alleged

   herein were egregious and taken in conscious disregard of or with deliberate indifference to Mrs.

   Meyaart’s rights outrageously, wantonly, and oppressively, and with legal and actual malice.

           186.    Travel Leaders Group violated Florida Civil Rights Act, Chapter 760, and retaliated

   against Mrs. Meyaart due to her gender by subjecting Mrs. Meyaart to Travel Leaders Group’s

   actions based on Mrs. Meyaart’s gender, and were taken either as pretexts to discrimination or as

   a result of Travel Leaders Group’s mixed motives, at least one of which was discrimination.

           187.    Travel Leaders Group’s retaliation caused Mrs. Meyaart to suffer physical and

   emotional pain, embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression,

   and loss of enjoyment of life.

           188.    In taking the foregoing actions, Travel Leaders Group subjected Mrs. Meyaart to a

   severe and pervasive and/or materially adverse hostile work environment.




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          189.    Travel Leaders Group’s actions were based on reprisal and were taken either as

   pretexts to retaliation or as a result of Travel Leaders Group’s mixed motives, at least one of which

   was retaliation, for Mrs. Meyaart’s engagement in activity protected under Florida Civil Rights

   Act, Chapter 760, Travel Leaders Group’s actions would likely have dissuaded a reasonable

   employee from making or supporting a complaint of discrimination.

          WHEREFORE, Mrs. Meyaart respectfully requests that the Court enter judgment in her

   favor and award her the following relief:

                  A.      An Order declaring that Travel Leaders Group violated her civil rights under

                          Florida Civil Rights Act, Chapter 760, and restraining and enjoining Travel

                          Leaders Group from further such violations;

                  B.      Back pay, front pay, and other benefits lost as a result of Mrs. Meyaart

                          unlawfully being subjected to a hostile work environment;

                  C.      Compensatory and punitive damages in an amount to be determined at trial

                          to compensate her for the emotional pain, embarrassment, humiliation,

                          mental anguish, inconvenience, career loss, loss of professional reputation,

                          loss of enjoyment of life, and detrimental impact on her health caused by

                          Travel Leaders Group’s unlawful actions;

                  D.      Record correction to remove the negative performance appraisals from her

                          personnel file and replace it with one rating her at the “Exceeds

                          Expectations” level in each performance area or a substantially similar

                          correction;

                  E.      The attorneys’ and paralegal’s fees and costs incurred by Mrs. Meyaart; and

                  F.      Such other relief as may be just and appropriate.

                                           JURY DEMAND

   PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.



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                                     CERTIFICATE OF SERVICE

          WE DO HEREBY CERTIFY that on July 12, 2018, a true and correct copy of the

   foregoing was filed using the Court’s CM/ECF System, which will send a notice of electronic

   filing to the all counsel of record identified on the service list below.

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